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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


------------------------------------------------------------------- x
UNITED STATES POSTAL SERVICE,                                       :
                                                                    :
                                        Plaintiff,                  :
                                                                    :   Case No. 19-3685-TSC
             - v. -                                                 :
                                                                    :
NATIONAL ASSOCIATION OF LETTER                                      :
CARRIERS, AFL-CIO,                                                  :
                                                                    :
                                        Defendant.                  :
------------------------------------------------------------------- x


                                            PROPOSED ORDER


                 Upon consideration of the motion (“Motion”) of Defendant and Counterclaim

Plaintiff National Association of Letter Carriers, AFL-CIO (“NALC”) to confirm and enforce the

August 30, 2019 award of Arbitrator Lawrence Roberts in NALC Case No. 18-FCMK3-18

(“Award”), and upon consideration of the entire record in the case, the Court GRANTS the

Motion, CONFIRMS AND ENFORCES the Award, and ORDERS that USPS shall comply with

the Award forthwith.



                                                     ___________________________________
                                                     Tanya S. Chutkan
                                                     United States District Judge


Dated: _________________________




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